                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             WESTERN DIVISION

 UNITED STATES OF AMERICA,

                              Plaintiff,

        v.                                        Case No. 19-00157-01/12-CR-W-DGK

 MICHAEL B. PEDRINO, et al.,



                              Defendants.

                                 ENTRY OF APPEARANCE

       Comes now the United States of America, by and through its undersigned attorney, Mary

Kate Butterfield, Special Assistant United States Attorney, and enters her appearance as co-

counsel for the United States of America in the above-referenced case.

                                                    Respectfully submitted,

                                                    TIMOTHY A. GARRISON
                                                    United States Attorney

                                               By /s/ Mary Kate Butterfield

                                                    Mary Kate Butterfield
                                                    Special Assistant United States Attorney
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was delivered on October 28,
2019, to the CM-ECF system of the United States District Court for the Western District of
Missouri for electronic delivery to all counsel of record.




                                                    /s/ Mary Kate Butterfield
                                                    Mary Kate Butterfield
                                                    Special Assistant United States Attorney




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